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                       UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                               WESTERN DIVISION



 UNITED STATES OF AMERICA,                          5:22-CR-50156-KES

          Plaintiff,
                                                  ORDER ADOPTING
    vs.                                    REPORT & RECOMMENDATION AND
                                           SENTENCING SCHEDULING ORDER
 JEREMIAH LITTLE,

          Defendant.

      On August 11, 2023, defendant, Jeremiah Little, appeared before

Magistrate Judge Daneta Wollmann for a change of plea hearing. Magistrate

Judge Wollmann issued a report recommending the court accept defendant’s

plea of guilty to the Superseding Information. The Superseding Information

charges Little with Conspiracy to Distribute a Controlled Substance in violation

of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C). As part of the agreement

between the parties, the government will not file an information pursuant to 21

U.S.C. § 851 alleging that the defendant has a prior qualifying felony

conviction. Defendant waived any objection to the report and recommendation.

Upon review of the record in this case, it is

      ORDERED that the report and recommendation (Docket 73) is adopted.

The defendant is adjudged guilty of Conspiracy to Distribute a Controlled

Substance in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C).
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      It is FURTHER ORDERED that the sentencing hearing in this matter will

be held on October 25, 2023 at 3:30 p.m. in Rapid City Courtroom 2.

      Dated August 15, 2023.

                               BY THE COURT:

                               /s/ Karen E. Schreier
                               KAREN E. SCHREIER
                               UNITED STATES DISTRICT JUDGE




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